Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.287 Filed 04/15/16 Page 1 of 22




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


United States of America,
                                              Criminal No. 12-20450
                   Plaintiff,                 Hon. Robert H. Cleland
v.

D-2 Deepak Shah,

               Defendant.
__________________________________/


                 PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, on July 11, 2012, a grand jury returned an Indictment

(“Indictment”) charging Defendant Deepak Shah (“Defendant”) in Count One with

conspiracy to commit health care fraud in violation of 18 U.S.C. § 1349, in Counts

Two through Five with aiding and abetting health care fraud in violation of 18

U.S.C. § 1349 and 18 U.S.C. § 2, and in Count Six with conspiracy to pay and

receive kickbacks in violation of 18 U.S.C. § 371. (Dkt. # 3). The Indictment

contains Forfeiture Allegations pursuant to 18 U.S.C. § 982 seeking forfeiture,

upon conviction of any of the offenses charged in Counts on through Five, of any

property, real or personal, that constituted or is derived from the proceeds traceable

to the commission of the offenses, pursuant to 18 U.S.C. § 982(a)(7).



                                          1
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.288 Filed 04/15/16 Page 2 of 22




      WHEREAS, on August 23, 2012, the United States filed its Forfeiture Bill

of Particulars ((Dkt. #22) pursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure providing notice to the Defendant that the Government intends to forfeit

the following, upon conviction, pursuant to 18 U.S.C. §§ 981(a)(1)(A), (C),

982(a)(7), and 28 U.S.C. § 2461(c):

                         Bank and Investment Accounts

      1.     Ally Bank Official Check # 26305 dated July 30, 2012, and made

             payable to the AU.S. Marshals Service@ in the amount of $205,058.35,

             representing the totality of funds seized from Ally Bank Certificate of

             Deposit Account # 3017791074 (Asset ID #12-FBI-005904).

      2.     Bank of America Cashier=s Check # 9495518951 dated July 31, 2012,

             and made payable to the AUS Marshals Service@ in the amount of

             $426,978.82, representing the totality of funds seized from Bank of

             America Account # 5092454536 (Asset ID #12-FBI-005906).

      3.     Bank of America Cashier=s Check # 9495518952 dated July 31, 2012,

             and made payable to the AUS Marshals Service@ in the amount of

             $12,939.55, representing the totality of funds seized from Bank of

             America Account # 5700953366 (Asset ID #12-FBI-005907).

      4.     Bank of America Cashier=s Check # 9495518953 dated July 31, 2012,



                                         2
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.289 Filed 04/15/16 Page 3 of 22




            and made payable to the AUS Marshals Service@ in the amount of

            $131,268.97, representing the totality of funds seized from Bank of

            America Account # 5403410938 (Asset ID #12-FBI-005905).

      5.    Discover Bank Official Check # 653898 dated July 26, 2012, and

            made payable to the AUnited States Marshals Service@ in the amount

            of $256,013.53, representing the totality of funds seized from

            Discover Bank Account # 5201351670 (Asset ID #12-FBI-005917).

      6.    Received from E-Trade Financial were the two (2) following fiduciary

            instruments, representing the totality of funds seized from E-Trade

            Financial Account # 64059983 (Asset ID #12-FBI-005909).

      (a)   E-Trade Financial Official Check # 11867148 dated July 16, 2012,

            and made payable to the AUS Marshal Service@ in the amount of

            $509,548.00; and

      (b)   E-Trade Financial Official Check # 11885261 dated August 14, 2012,

            and made payable to the AUS Marshal Service@ in the amount of

            $2,642.67.

      7.    Flagstar Bank Check # 200222216 dated July 12, 2012, and made

            payable to the AUnited States Marshals Service@ in the amount of

            $220,831.83, representing the totality of funds seized from Flagstar



                                        3
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.290 Filed 04/15/16 Page 4 of 22




            Bank Account # 424594974 (Asset ID #12-FBI-005913).

      8.    MetLife Bank Cashier’s Check # 000000101941 dated July 17, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $152,265.70, representing the totality of funds seized from

            Metropolitan Life Certificate of Deposit Account # 5003767216

            (Asset ID #12-FBI-005915).

      9.    Northern Trust Cashier’s Check # 127897 dated July 20, 2012, and

            made payable to the AU.S. Marshal=s Service@ in the amount of

            $206,438.77, representing the totality of funds seized from Northern

            Trust Company Account # 9071816092 (Asset ID #12-FBI-005903).

      10.   PNC Bank Cashier=s Check # 30832 dated July 12, 2012, and made

            payable to the AU.S. Marshal=s Service@ in the amount of $15,220.63,

            representing the totality of funds seized from PNC Bank Account#

            4234320275, previously carried as National City Bank Account #

            978887540 (Asset ID #12-FBI-005900).

      11.   Prudential Annuities check # 3800022458 dated August 1, 2012,

            made payable to the AU.S. Marshal=s Service@ in the amount of

            $218,755.34, and drafted against a Wachovia Bank account held by

            Prudential. This check represents the totality of funds seized from



                                        4
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.291 Filed 04/15/16 Page 5 of 22




             Prudential Annuities Account # E0883173 (Asset ID #12-FBI-

             005901).

      12.    TD Ameritrade Inc. check # 9378700 dated July 17, 2012, made

             payable to the AU.S. Marshal=s Service@ in the amount of $196,870.71,

             and drafted against a Fremont National Bank Omaha NE account held

             by Ameritrade Clearing, representing the totality of funds seized from

             TD Ameritrade, Inc., Account # 240381650 (Asset ID #12-FBI-

             005893),

(hereafter collectively referred to as “Subject Funds”).

                                          Jewelry

                               (Asset ID #12-FBI-006329)

      13.    One Lady=s Fancy Pierced Out Floral Style Diamond and Colored

             Stone Necklace with tiered diamond drop, from India, tested 21 kt.

             Yellow Gold, weighing 72.8 grams.

      14.    One Pair of Lady’s Major Colored Stone with Double Row Halo, and

             tiered Diamond Drop Earrings from India, tested 21 kt. Yellow Gold,

             weighing 33.6 grams.

      15.    Four Jewelry Parts totaling 4.0 grams: (1) Gold, and (3) Synthetic

             Green Stones from India, tested 22 kt. Yellow Gold.



                                          5
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.292 Filed 04/15/16 Page 6 of 22




      16.   One Lady=s Rectangular Tube and Diamond Triangular Cluster Drop

            Neck Chain from India, tested 21 kt. Yellow Gold, weighing 21.8

            grams.

      17.   One Pair of Double Diamond Triangular Cluster Earrings from India

            tested 21 kt. Yellow Gold, weighing 3.6 grams.

      18.   One Lady=s Fancy Link Neck Chain from India with Alternating

            Diamond and Gold Bars, tested 19 kt. Yellow Gold, weighing 22.8

            grams.

      19.   One Lady=s Four Section Diamond Cluster Earrings from India, tested

            19 kt. Yellow Gold, total weight 7.4 grams.

      20.   One Lady’s Double Braided Gold and Synthetic Stone Bracelet from

            India, tested 18 kt. Yellow Gold, weighing 18.7 grams.

      21.   One Pair of Lady=s Gold Tube and Synthetic Stone Earrings from

            India tested 18 kt. Yellow Gold, weighing 10.6 grams.

      22.   One Lady’s Double Braided Gold and Synthetic Stone Necklace from

            India, tested 18 kt. Yellow Gold, weighing 47.9 grams.

      23.   One AC@ Link Style Neck Chain from India, tested 20 kt. Yellow

            Gold, weighing 18.0 grams.

      24.   One AC@ Link Style Neck Chain from India, tested 20 kt. Yellow



                                         6
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.293 Filed 04/15/16 Page 7 of 22




            Gold, weighing 18.0 grams.

      25.   One Lady=s Braided Style Neck Chain from India, stamped 21 kt.

            Yellow Gold and one (1) Pendant stamped 21 kt. Yellow Gold, total

            weighing 13.3 grams.

      26.   One Pair of Lady=s Double Oval Style Gold Earrings from India,

            stamped 21 kt:.Yellow Gold, total weighing 6. 3 grams.

      27.   One Pair of Lady=s Diamond Cluster Earrings from India, made of 14

            kt. Yellow Gold.

      28.   One Pair of Lady=s Crescent Motif Diamond Post and Colored Stone

            Drop Earrings from India, total weight of 14.1 grams.

      29.   One Lady=s Mirrored Box Link Neck Chain from India stamped 14 kt.

            Yellow Gold, weighing 4.3 grams.

      30.   One Pair of= Lady=s Diamond Cluster Earrings from India made of 14

            kt. Yellow Gold, weighing 3.6 grams.

      31.   Thirteen (13) Miscellaneous Jewelry Items from India, total weight =

            8.6 grams. The items include:

            a. Ring with three diamonds

            b. Gold Pendants

            c. Sterling Silver and Cubic Zirconia Pendant



                                          7
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.294 Filed 04/15/16 Page 8 of 22




            d. Synthetic Red Stone

            e. Synthetic White Stone

      32.   One Pair of Lady=s White and Red Synthetic Stone Post with Green

            Synthetic Stone Drop Earrings from India, stamped 22 kt. Yellow

            Gold, weighing 31.3 grams.

      33.   One Lady=s Fancy Pierced Out Rectangular Tube Necklace from India

            with Synthetic Red and White Stone Center, and Green and White

            Stone Drop with a Synthetic Stone clasp, stamped 22 kt. Yellow Gold,

            weighing 71.0 grams.

      34.   Two Pair of Lady=s Gold Textured and Bead Drop Earrings from

            India, stamped 22 kt. Yellow Gold, weighing 20.5 grams.

      35.   Two Lady=s Gold Pierced Out Textured Style Neck Chains from

            India, stamped 22 kt. Yellow Gold, Total weighimg 36.2 grams.

      36.   Two Lady=s Jewelry Items from India, made of= 22 kt. Yellow Gold,

            weighing 3.4 grams.

      37.   One Pair of Lady=s Diamond Hoop Earrings from India, made of 18

            kt. Yellow Gold, weighing 7.0 grams.

      38.   One Lady=s Gold Wire and Diamond Rectangular Pendant from

            India, made of 18 kt. Yellow Gold, weighing 7.8 grams.



                                         8
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.295 Filed 04/15/16 Page 9 of 22




      39.    One Lady=s Gold and Diamond Cuff Bracelet from India, stamped 14

             kt. Yellow Gold, weighing 20.7 grams.

      40.    One Lady=s Sterling Silver, Ruby Bead, Gold and Diamond AC@ Drop

             from India with Synthetic Colored Stones, containing six (6) Full Cut

             Diamonds, and one-hundred one (101) Fun Cut Diamonds weighing

             approximately .008 carat each, totaling .808 carat.

      41.    One Lady=s Synthetic White and Red Stone Double Row Neck Chain

             from India, stamped 21 kt. Yellow Gold with Synthetic Red, and

             Green Stone Drop, weighing 72.3 grams.

      42.    One Pair of Lady=s Synthetic Red and White Stone Earrings from

             India tested 21 kt. Yellow Gold, weighing 28.2 grams.

      43.    One Lady=s Synthetic Green and White Stone Ring, metal is not gold,

(hereafter collectively referred to as “Subject Jewelry”).

                                   Gold Bars and Coins

                                (Asset ID #12-FBI-006311)

      44.    One Gold Bar. Valcambi, Suisse, 1 oz. 999.9 Fine Gold- Essayer

             Fondeur- Scotia Bank, measuring 37x22mm, # AA037661.

      45.    One Gold Bar. Valcambi, Suisse, 1 oz. 999.9 Fine Gold- Essayer

             Fondeur- Scotia Bank, measuring 37x22mm, # AA037663.



                                          9
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.296 Filed 04/15/16 Page 10 of 22




      46.   One Gold Bar. Valcambi, Suisse, 1 oz. 999.9 Fine Gold - Essayer

            Fondeur - Scotia Bank, measuring 37x22mm, # AA037664.

      47.   One Gold Bar. Valcambi, Suisse, 1 oz. 999.9 Fine Gold - Essayer

            Fondeur - Scotia Bank, measuring 37x22mm, # AA037665.

      48.   One Gold Bar. Valcambi, Suisse, 1 oz. 999.9 Fine Gold - Essayer

            Fondeur - Scotia Bank, measuring 37x22mm, # AA037666.

      49.   One Gold Bar. Vaicambi, Suisse, 1 oz. 999.9 Fine Gold- Essayer

            Fondeur- Scotia Bank, measuring 37x22mm, # AA037667.

      50.   One Gold Bar. Vaicambi, Suisse, 1 oz. 999.9 Fine Gold- Essayer

            Fondeur- Scotia Bank, measuring 37x22mm, # AA037669.

      51.   One Gold Bar. Vaicambi, Suisse, 1 oz. 999.9 Fine Gold- Essayer

            Fondeur- Scotia Bank, measuring 37x22mm, # AA037670.

      52.   One Gold Bar. Fine Gold 995.0, 100 grams, Code BM, measuring

            35x22.5x0. 7mm, Serial # 005988.

      53.   One Gold Bar. RiddiSiddhi Bullions Ltd., 10 grams 24 karat .999

            Fine Gold by R.S.B.S.

      54.   One Gold Bar. RiddiSiddhi Bullions Ltd., 5 grams 24 karat .999 Fine

            Gold by R.S.B.S.

      55.    One Gold Coin. Canada 50 Dollar Elizabeth II, 1 oz. Fine Gold



                                      10
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.297 Filed 04/15/16 Page 11 of 22




             measuring 30.0mm, year 1983.

      56.    One Gold Coin. Canada 50 Dollar Elizabeth II, 1 oz. Fine Gold

             measuring 30.0mm, year 1985.

(hereafter collectively referred to as “Subject Gold Bars and Coins”).

      WHEREAS, on April 8, 2013 Defendant Deepak Shah entered into a Rule

11 Plea Agreement (“Rule 11”) [Dkt. # 28] in which he agreed to plead guilty to

Count One of the Indictment, which charges conspiracy to commit health care

fraud, in violation of 18 U.S.C. § 1349.

       WHEREAS, Defendant further agreed, pursuant to 18 U.S.C. § 982(a)(7),

 to forfeit without contest his right, title, and interest in the following Subject

 Funds, which constitute or are derived from proceeds traceable to the conspiracy

 to commit health care fraud as alleged in the Indictment:

      1.     Ally Bank Official Check # 26305 dated July 30, 2012, and made

             payable to the AU.S. Marshals Service@ in the amount of $205,058.35,

             representing the totality of funds seized from Ally Bank Certificate of

             Deposit Account # 3017791074 (Asset ID #12-FBI-005904).

      2.     $119,238.98 derived from Bank of America Cashier=s Check

             # 9495518951 in the amount of $426,978.82 seized from Bank of

             America Account # 5092454536. (Asset ID #12-FBI-005906).



                                           11
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.298 Filed 04/15/16 Page 12 of 22




      3.    Bank of America Cashier=s Check # 9495518952 dated July 31, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $12,939.55, representing the totality of funds seized from Bank of

            America Account # 5700953366 (Asset ID #12-FBI-005907).

      4.    Bank of America Cashier=s Check # 9495518953 dated July 31, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $131,268.97, representing the totality of funds seized from Bank of

            America Account # 5403410938 (Asset ID #12-FBI-005905).

      5.    Discover Bank Official Check # 653898 dated July 26, 2012, and

            made payable to the AUnited States Marshals Service@ in the amount

            of $256,013.53, representing the totality of funds seized from

            Discover Bank Account # 5201351670 (Asset ID #12-FBI-005917).

      6.    Received from E-Trade Financial were the two (2) following fiduciary

            instruments, representing the totality of funds seized from E-Trade

            Financial Account # 64059983 (Asset ID #12-FBI-005909).

      (a)   E-Trade Financial Official Check # 11867148 dated July 16, 2012,

            and made payable to the AUS Marshal Service@ in the amount of

            $509,548.00; and

      (b)   E-Trade Financial Official Check # 11885261 dated August 14, 2012,



                                        12
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.299 Filed 04/15/16 Page 13 of 22




            and made payable to the AUS Marshal Service@ in the amount of

            $2,642.67.

      7.    Flagstar Bank Check # 200222216 dated July 12, 2012, and made

            payable to the AUnited States Marshals Service@ in the amount of

            $220,831.83, representing the totality of funds seized from Flagstar

            Bank Account # 424594974 (Asset ID #12-FBI-005913).

      8.    MetLife Bank Cashier’s Check # 000000101941 dated July 17, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $152,265.70, representing the totality of funds seized from

            Metropolitan Life Certificate of Deposit Account # 5003767216

            (Asset ID #12-FBI-005915).

      9.    Northern Trust Cashier’s Check # 127897 dated July 20, 2012, and

            made payable to the AU.S. Marshal=s Service@ in the amount of

            $206,438.77, representing the totality of funds seized from Northern

            Trust Company Account # 9071816092 (Asset ID #12-FBI-005903).

      10.   PNC Bank Cashier=s Check # 30832 dated July 12, 2012, and made

            payable to the AU.S. Marshal=s Service@ in the amount of $15,220.63,

            representing the totality of funds seized from PNC Bank Account

            # 4234320275, previously carried as National City Bank Account



                                        13
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.300 Filed 04/15/16 Page 14 of 22




            # 978887540 (Asset ID #12-FBI-005900).

      11.   Prudential Annuities check # 3800022458 dated August 1, 2012,

            made payable to the AU.S. Marshal=s Service@ in the amount of

            $218,755.34, and drafted against a Wachovia Bank account held by

            Prudential. This check represents the totality of funds seized from

            Prudential Annuities Account # E0883173 (Asset ID #12-FBI-

            005901).

      12.   TD Ameritrade Inc. check # 9378700 dated July 17, 2012, made

            payable to the AU.S. Marshal=s Service@ in the amount of $196,870.71,

            and drafted against a Fremont National Bank Omaha NE account held

            by Ameritrade Clearing, representing the totality of funds seized from

            TD Ameritrade, Inc., Account # 240381650 (Asset ID #12-FBI-

            005893)

       WHEREAS, the United States agrees that the following assets:

 $307,739.64 of the funds seized from Bank of America Account # 5092454536

 (Asset ID #12-FBI-005906), the Subject Jewelry seized from Defendant’s home

 (Asset ID #12-FBI-006311), and the Subject Gold and Coins seized from

 Defendant’s home (Asset ID #12-FBI-006329) SHALL BE RETURNED to

 Defendant Deepak Shah and his wife, jointly, less any debt owed to the United



                                        14
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.301 Filed 04/15/16 Page 15 of 22




 States, any agency of the United States, or less any other debt which the United

 States is authorized to collect from the Defendant, including but not limited to

 any debts collected through the Treasury Offset Program.

      WHEREAS, Defendant in his Rule 11 agreed to unconditionally release and

forever discharge the United States of America, the United States Department of

Justice, the FBI, the United States Attorney’s Office, their agents, officers,

employees, past and present, and all other persons, including but not limited to any

individual local law enforcement officers or departments or agencies assisting in

any matter in the facts, events and circumstances giving rise to the seizure of the

seized funds, from any and all actions, causes of action, suits, proceedings, debts,

dues, contracts, judgments, damages, claims, and/or demands whatsoever in law or

equity which Defendant, her assigns, agents, officers, employees, successors,

and/or heirs of had, now have, or may have in the future in connection with the

seizure and detention of the seized funds. Defendant also agrees to bear any and all

costs and attorney fees associated with the seized assets the government agrees to

return.

      WHEREAS, Defendant in his Rule 11 agreed to the Court’s prompt entry of

a Preliminary Order of Forfeiture following Defendant’s guilty plea, upon

application by the United States, incorporating the above referenced property as



                                          15
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.302 Filed 04/15/16 Page 16 of 22




mandated by Fed. R. Crim. P. 32.2, which shall, in any event, be submitted for

entry at or before sentencing. Defendant acknowledges that he understands that

forfeiture is part of the sentence that will be imposed in this case, and waives any

failure by the Court to advise him of this, pursuant to Fed. R. Crim. P. 11(b)(1)(J)

or otherwise, at the change-of-plea hearing.

      WHEREAS, Defendant in his Rule 11 expressly waived his right to have a

jury determine the forfeitability of his interest in the above-identified property as

provided by Rule 32.2(b)(5) of the Federal Rules of Criminal Procedure.

      NOW THEREFORE, based upon Defendant’s conviction, acknowledgment

of criminal forfeiture proceedings, the Rule 11 Plea Agreement and guilty plea,

and the information in the record,

      IT IS HEREBY ORDERED THAT:

      1.     Ally Bank Official Check # 26305 dated July 30, 2012, and made

             payable to the AU.S. Marshals Service@ in the amount of $205,058.35,

             representing the totality of funds seized from Ally Bank Certificate of

             Deposit Account # 3017791074 (Asset ID #12-FBI-005904).

      2.     $119,238.98 derived from Bank of America Cashier=s Check

             # 9495518951 in the amount of $426,978.82 seized from Bank of

             America Account # 5092454536. (Asset ID #12-FBI-005906).



                                          16
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.303 Filed 04/15/16 Page 17 of 22




      3.    Bank of America Cashier=s Check # 9495518952 dated July 31, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $12,939.55, representing the totality of funds seized from Bank of

            America Account # 5700953366 (Asset ID #12-FBI-005907).

      4.    Bank of America Cashier=s Check # 9495518953 dated July 31, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $131,268.97, representing the totality of funds seized from Bank of

            America Account # 5403410938 (Asset ID #12-FBI-005905).

      5.    Discover Bank Official Check # 653898 dated July 26, 2012, and

            made payable to the AUnited States Marshals Service@ in the amount

            of $256,013.53, representing the totality of funds seized from

            Discover Bank Account # 5201351670 (Asset ID #12-FBI-005917).

      6.    Received from E-Trade Financial were the two (2) following fiduciary

            instruments, representing the totality of funds seized from E-Trade

            Financial Account # 64059983 (Asset ID #12-FBI-005909).

      (a)   E-Trade Financial Official Check # 11867148 dated July 16, 2012,

            and made payable to the AUS Marshal Service@ in the amount of

            $509,548.00; and

      (b)   E-Trade Financial Official Check # 11885261 dated August 14, 2012,



                                        17
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.304 Filed 04/15/16 Page 18 of 22




            and made payable to the AUS Marshal Service@ in the amount of

            $2,642.67.

      7.    Flagstar Bank Check # 200222216 dated July 12, 2012, and made

            payable to the AUnited States Marshals Service@ in the amount of

            $220,831.83, representing the totality of funds seized from Flagstar

            Bank Account # 424594974 (Asset ID #12-FBI-005913).

      8.    MetLife Bank Cashier’s Check # 000000101941 dated July 17, 2012,

            and made payable to the AUS Marshals Service@ in the amount of

            $152,265.70, representing the totality of funds seized from

            Metropolitan Life Certificate of Deposit Account # 5003767216

            (Asset ID #12-FBI-005915).

      9.    Northern Trust Cashier’s Check # 127897 dated July 20, 2012, and

            made payable to the AU.S. Marshal=s Service@ in the amount of

            $206,438.77, representing the totality of funds seized from Northern

            Trust Company Account # 9071816092 (Asset ID #12-FBI-005903).

      10.   PNC Bank Cashier=s Check # 30832 dated July 12, 2012, and made

            payable to the AU.S. Marshal=s Service@ in the amount of $15,220.63,

            representing the totality of funds seized from PNC Bank Account#

            4234320275, previously carried as National City Bank Account #



                                        18
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.305 Filed 04/15/16 Page 19 of 22




             978887540 (Asset ID #12-FBI-005900).

      11.    Prudential Annuities check # 3800022458 dated August 1, 2012,

             made payable to the AU.S. Marshal=s Service@ in the amount of

             $218,755.34, and drafted against a Wachovia Bank account held by

             Prudential. This check represents the totality of funds seized from

             Prudential Annuities Account # E0883173 (Asset ID #12-FBI-

             005901).

      12.    TD Ameritrade Inc. check # 9378700 dated July 17, 2012, made

             payable to the AU.S. Marshal=s Service@ in the amount of $196,870.71,

             and drafted against a Fremont National Bank Omaha NE account held

             by Ameritrade Clearing, representing the totality of funds seized from

             TD Ameritrade, Inc., Account # 240381650 (Asset ID #12-FBI-

             005893)

ARE HEREBY FORFEITED to the United States for disposition in

accordance with the law, and any right, title or interest of Defendant, and any

right, title or interest that his heirs, successors or assigns have or may have in

the forfeited funds IS HEREBY AND FOREVER EXTINGUISHED.

       IT IS HEREBY FURTHER ORDERED THAT that the following

 assets: $307,739.64 of the funds seized from Bank of America Account



                                         19
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.306 Filed 04/15/16 Page 20 of 22




 # 5092454536 (Asset ID #12-FBI-005906), the Subject Jewelry seized from

 Defendant’s home (Asset ID #12-FBI-006311), and the Subject Gold and Coins

 seized from Defendant’s home (Asset ID #12-FBI-006329) SHALL BE

 RETURNED to Defendant Deepak Shah and his wife, Usha Shah, jointly, less

 any debt owed to the United States, any agency of the United States, or less any

 other debt which the United States is authorized to collect from the Defendant,

 including but not limited to any debts collected through the Treasury Offset

 Program.

      IT IS HEREBY FURTHER ORDERED THAT upon entry of this order,

the United States shall publish on www.forfeiture.gov notice of this preliminary

forfeiture order and of its intent to dispose of the defendant property in such

manner as the Attorney General may direct, pursuant to 21 U.S.C. § 853(n). Said

notice shall direct that any person other than the Defendant asserting a legal

interest in the defendant property may file a petition with the Court within thirty

(30) days of the final publication of notice or of receipt of actual notice, whichever

is earlier. The petition shall be for a hearing before the Court alone, without a jury

and in accordance with 21 U.S.C. § 853(n), to adjudicate the validity of the

petitioner’s alleged interest in the defendant property. The petition must be signed

by the petitioner under penalty of perjury and must set forth the nature and extent



                                          20
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.307 Filed 04/15/16 Page 21 of 22




of the petitioner’s alleged right, title or interest in the defendant property, the time

and circumstances of the petitioner’s acquisition of the right, title, or interest in the

defendant property, any additional facts supporting the petitioner’s claim, and the

relief sought. The United States may also, to the extent practicable, provide direct

written notice to any person or entity known to have an alleged interest in the

defendant property.

      IT IS HEREBY FURTHER ORDERED THAT, pursuant to the Rule 11

Plea Agreement and Fed. R. Crim. P. 32.2, this Preliminary Order of Forfeiture

shall become final as to Defendant upon being entered. If no third party files a

timely claim, this Order shall become the Final Order of Forfeiture as to all other

persons, as provided by Fed. R. Crim. P. 32.2(c)(2).

      IT IS HEREBY FURTHER ORDERED THAT after the disposition of

any motion filed under Federal Rule of Criminal Procedure 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.




                                           21
Case 2:12-cr-20450-RHC-LJM ECF No. 41, PageID.308 Filed 04/15/16 Page 22 of 22




      IT IS HEREBY FURTHER ORDERED THAT the Court shall retain

jurisdiction to enforce this Preliminary Order of Forfeiture, and to amend it as

necessary, pursuant to Fed. R. Crim. P.32.2(e).

      IT IS SO ORDERED.



                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE


Dated: April 15, 2016


I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, April 15, 2016, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522




                                           22
